 Case 1-24-45433-ess             Doc 1-12       Filed 12/31/24     Entered 12/31/24 15:26:10




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re
                                                             Chapter 11

        1550 BEDFORD AVE LLC
                                                            Case No. 24


                                             Debtor
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                 LIST OF EQUITY SECURITY HOLDERS


The following is the list of equity security holders in 1550 Bedford Ave LLC:


                 Yoel Goldman

Dated: New York, New York
       December 31, 2024                               LAW OFFICIES OF ISAAC NUTOVIC
                                                         Proposed Attorneys for Debtor

                                                       By:___s/Isaac Nutovic___________
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